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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                 v.                              )       No. 15 C 2997
                                                 )
THE STATE OF ILLINOIS, et al.,                   )       Judge Darrah
                                                 )
                                                 )
                                 Defendants.     )

                                           STATUS REPORT

          The defendants, the State of Illinois, the Illinois State Board of Elections, and Steven

Sandvoss, the Executive Director of the Illinois State Board of Elections, by their attorney, Lisa

Madigan, Attorney General of Illinois, submit the following status report required by the consent

decree.

          Illinois will be having a special congressional election for its Eighteenth Congressional

District. The special primary is scheduled for June 8, 2015 and the special general election is

scheduled for July 24, 2015. These dates were set under the decree to allow sufficient time to

comply with the timing requirements of the Uniformed and Overseas Citizen Absentee Voting

Act (UOCAVA), 52 U.S.C. §§ 20301 et seq. The relevant section of the Illinois Election Code,

10 ILCS 5/25-7, did not allow sufficient time to permit compliance with federal law.

          The Illinois General Assembly has now taken action to remedy this situation for future

special congressional elections. On May 31, 2015, Senate Bill 1256, House Floor Amendment

No. 1, was passed to amend Section 25-7 of the Election Code to harmonize it with the



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requirements of the UOCAVA. The legislature has 30 days from date of passage to send the bill

to the Governor, who has 60 days to take action on it. A summary of the amendment from the

General Assembly website is attached.



                                                    Respectfully submitted,

LISA MADIGAN
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